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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

IN RE:
                                                          CHAPTER 11
JOEL CLAUDE ROWLAND,
                                                          CASE NO. 17-54647-bem
         Debtor.

 APPLICATION REQUESTING ENTRY OF ORDER CONDITIONALLY APPROVING
 DISCLOSURE STATEMENT, SCHEDULING HEARING ON PLAN CONFIRMATION
    AND VALUATION OF ESTATE PROPERTY, AND ESTABLISHING CERTAIN
                            DEADLINES

       COMES NOW, Joel Claude Rowland (“Debtor”), by and through the undersigned

counsel, and hereby files this “Application Requesting Entry of Order Conditionally Approving

Disclosure Statement, Scheduling Hearing on Plan Confirmation and Valuation of Estate

Property, and Establishing Certain Deadlines” (the “Application”), in which Debtor respectfully

requests an order (1) conditionally approving his Disclosure Statement and scheduling a hearing

to consider final approval thereof, Plan confirmation hearing and a collateral valuation hearing

pursuant to 11 U.S.C. § 506(a), (2) approving the form and content of Debtor’s ballot, (3)

establishing a deadline for filing objections to the Disclosure Statement and Plan of

Reorganization, (4) establishing a deadline for casting ballots to accept or reject Plan of

Reorganization, and (5) to the extent necessary, extending the deadline for confirming Debtor’s

proposed Plan of Reorganization. In support of the Application, Debtor respectfully shows the

Court as follows:

                                         Jurisdiction

       1.     This Court has jurisdiction over this Application pursuant to 28 U.S.C. §1334.

The subject matter of this Application constitutes a core proceeding within the meaning of 28
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U.S.C. §157(b)(2). Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory

basis for the relief requested is 11 U.S.C. §§ 1125(f), 506(a), and 105 and Rules 3017.1 and 3012

of the Federal Rules of Bankruptcy Procedure (“Rule(s)”).

        2.     On March 10, 2017 (“Petition Date”), Debtor filed a voluntary petition for relief

under Chapter 11 of Title 11 of the United States Code, 11 U.S.C. §§101 et seq. (“Bankruptcy

Code”), in the United States Bankruptcy Court for the Northern District of Georgia, Atlanta

Division (“Court”).

        3.     Debtor continues to operate his business and manage his affairs as a debtor in

possession pursuant to Sections 1107 and 1108 of the Bankruptcy Code.

        4.     No official committee of unsecured creditors was or has been appointed in this

case.

        5.     On May 22, 2017, Debtor filed the following: (a) Plan of Reorganization (“Plan”);

and (b) Disclosure Statement for Plan of Reorganization (“Disclosure Statement”).

                                         Relief Requested

        6.     By this Application, Debtor requests entry of an order: (a) conditionally

approving the Disclosure Statement and setting a hearing on final approval of the Disclosure

Statement to be held, if a timely objection is filed, at the same time as a hearing to consider

confirmation of the Plan, and on Plan confirmation and valuation of collateral; (b) approving the

form and content of a ballot; (c) establishing a deadline for objecting to the Disclosure Statement

and Plan; (d) establishing a deadline for casting ballots to accept or reject the Plan; and (e) to the

extent necessary, extending the deadline to confirm Debtor’s Plan.




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       7.     Debtor requests the Court to determine the value of claims secured by property in

which the estate has an interest at the Confirmation Hearing, and that this Application be deemed

and is a “Motion to Value Collateral Under 506(a)” in accordance with Rule 3012.

       8.     Section 1125(f) of the Bankruptcy Code provides, in pertinent part, as follows:

                      …in a small business case
                              …
                      (3)(A)     the court may conditionally approve a disclosure
                      statement subject to final approval after notice and a
                      hearing;
                      (B) acceptances and rejections of a plan may be solicited based on
                      a conditionally approved disclosure statement if the debtor
                      provides adequate information to each holder of a claim or interest
                      that is solicited, but conditionally approved disclosure statement
                      shall be mailed not later than 25 days before the date of the hearing
                      on confirmation of the plan; and
                      (C) the hearing on the disclosure statement may be combined with
                      the hearing on confirmation of a plan.

       9.     Rule 3017.1(a) provides as follows:

                     (a) Conditional Approval of Disclosure Statement. In a small
              business case, the court may, on application of the plan proponent or on its
              own initiative, conditionally approve a disclosure statement filed in
              accordance with Rule 3016. On or before conditional approval of the
              disclosure statement, the court shall:
                     (1) fix a time within which the holders of claim and interest may
                     accept or reject the plan;
                     (2) fix a time for filing objections to the disclosure statement;
                     (3) fix a date for the hearing on final approval of the disclosure
                     statement to be held if a timely objection is filed; and
                     (4) fix a date for the hearing on confirmation.

       10.    Debtor’s case was filed as a small business case. The Disclosure Statement and

Plan were filed in accordance with Rule 3016.

       11.    Rule 3012 requires notice be given of a hearing where the court will determine the

extent to which a claim is secured. 11 U.S.C. Section 506(a) approves of holding a valuation

hearing in conjunction with a confirmation hearing. 11 U.S.C. §506.



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       12.     Section 1129(e) of the Bankruptcy Code requires confirmation of a small business

case within 45 days after the filing of a plan and provides as follows:

               In a small business case, the court shall confirm a plan that complies with
               the applicable provisions of this title and that is filed in accordance with
               Section 1121(e) not later than 45 days after the plan is filed unless the time
               for confirmation is extended in accordance with Section 1121(e)(3).

       13.     Section 1121(e)(3) of the Bankruptcy Code allows an extension of time if:

               (A) the debtor, after providing notice to parties in interest (including the
               United States trustee), demonstrates by a preponderance of the evidence
               that it is more likely than not that the court will confirm a plan within a
               reasonable amount of time;
               (B) a new deadline is imposed at the time the extension is granted; and
               (C) the order extending the time is signed before the existing deadline has
               expired.

       14.     To the extent confirmation of the Plan cannot and/or does not occur within forty-

five (45) days (“Confirmation Deadline”) after the filing of the Plan, Debtor requests that the

Confirmation Deadline be extended through and including August 21, 2017.

       15.     Debtor shows that extending the deadline is appropriate. The Plan and Disclosure

Statement comply with the Bankruptcy Code. This request is made prior to expiration of the

forty-five (45) day period. Unforeseen issues may arise delaying the confirmation process and

the Court’s calendar may be full. Thus, extending the deadline for obtaining confirmation of a

plan alleviates any issues that may arise if the confirmation hearing cannot be scheduled and/or

is continued beyond the initial forty-five (45) day period.

       16.     Debtor further requests that the Court approve the form and content of the Ballot

attached hereto and incorporated herein as Exhibit “A”. Ballots will be provided to creditors and

parties in interest entitled to vote along with the Disclosure Statement and Plan.

       17.     An order granting this Application and the relief requested herein will be

submitted contemporaneously herewith.

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          WHEREFORE, Debtor requests that the Court enter an order granting the Application

and the relief requested herein and such other and further relief as may be deemed just and

proper.

          Respectfully submitted this 22nd day of May, 2017.

                                              JONES & WALDEN, LLC
                                              /s/ Leslie M. Pineyro
                                              Leslie M. Pineyro
                                              Georgia Bar No. 969800
                                              lpineyro@joneswalden.com
                                              21 Eighth Street, NE
                                              Atlanta, Georgia 30309
                                              (404) 564-9300 Telephone
                                              (404) 564-9301 Facsimile
                                              Attorney for Debtor




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                             EXHIBIT “A” FOLLOWS
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                   IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

IN RE:
                                                          CHAPTER 11
JOEL CLAUDE ROWLAND,
                                                          CASE NO. 17-54647-bem
         Debtor.

            BALLOT FOR ACCEPTING OR REJECTING DEBTOR’S PLAN

        On May 22, 2017, Debtor filed his Chapter 11 Plan of Reorganization (the “Plan”) and
Disclosure Statement for Plan of Reorganization (“Disclosure Statement”).On May 22, 2017,
Debtor filed an Application Requesting Entry of Order Conditionally Approving Disclosure
Statement (the “Application”). The Court has conditionally approved the Disclosure Statement.
The Disclosure Statement provides information to assist you in deciding how to vote your ballot.
If you do not have a Disclosure Statement, you may obtain a copy from Jones & Walden, LLC,
21 Eighth Street, NE, Atlanta, Georgia 30309, 404-564-9300 (telephone), 404-564-9301
(facsimile). The Disclosure Statement and Plan are available for review in the Office of the
Clerk, U.S. Bankruptcy Court, 75 Ted Turner Drive, Atlanta, Georgia 30303 during normal
business hours or online at http://ecf.ganb.uscourts.gov (registered users) or at
http://pacer.psc.uscourts.gov (unregistered users).

        You should review the Disclosure Statement and the Plan before you vote. You may
wish to seek legal advice concerning the Plan and your classification and treatment under
the Plan. If you hold claims or equity interests in more than one class, you may receive a
ballot for each class in which you are entitled to vote and you may use a copy of the ballot
or request an additional ballot if you do not receive one.

       If your ballot is not received by the Office of the Clerk, U.S. Bankruptcy Court, 75
Ted Turner Drive, S.W., Atlanta, Georgia 30303 on or before June 23, 2017 and such
deadline is not extended, your vote will not count as either an acceptance or rejection of the
Plan.

       If the Plan is confirmed by the Bankruptcy Court it will be binding on you whether
or not you vote.
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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
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IN RE:
                                                               CHAPTER 11
JOEL CLAUDE ROWLAND,
                                                               CASE NO. 17-54647-bem
            Debtor.

                       BALLOT FOR ACCEPTING OR REJECTING
                        DEBTOR’S PLAN OF REORGANIZATION
        The Plan referred to in this ballot can be confirmed and thereby made binding on you if it
is accepted by the holders of two-thirds in amount and more than one-half in number of claims in
each Class. If the required acceptances are not obtained, the Plan may nevertheless be confirmed
if the Court finds that the plan accords fair and equitable treatment to the Class or Classes
rejecting it and otherwise satisfies the requirements of Section 1129(b) of the Code.

      TO HAVE YOUR VOTE COUNT, YOU MUST COMPLETE AND RETURN
THIS BALLOT ON OR BEFORE June 23, 2017 TO:

                                   Clerk, U.S. Bankruptcy Court
                              1340 Richard B. Russell Federal Building
                                     75 Ted Turner Drive, SW
                                      Atlanta, GA 30303-3367

You must also deliver a copy of the completed, signed ballot to Debtor’s Attorney at: Jones &
Walden LLC, 21 Eighth Street, NE, Atlanta, Georgia 30309, Attn: Leslie M. Pineyro.
The undersigned is a holder of [check one:]
      ___ a secured claim
      ___ an unsecured claim
      ___ other [specify:__________________________________________]

In the amount of $_________________, in Class ______ and hereby:
                             ______ Accepts          ______ Rejects
                                  Debtor’s Plan of Reorganization

Date:
                                                    Address:
Creditor:
             Print or Type Name                     Phone Number:
Signed:
Title:

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                              CERTIFICATE OF SERVICE

        I certify that on the date specified herein below I cause to be served a copy of the
foregoing documents via first class United States mail in a properly addressed envelope with
sufficient postage affixed thereto to ensure delivery upon the parties listed below:

David Weidenbaum
Office of the United States Trustee
362 Richard B. Russell Federal Building
75 Ted Turner Drive, SW
Atlanta, Georgia 30303



       This 22nd day of May, 2017.


                                          JONES & WALDEN, LLC
                                          /s/ Leslie M. Pineyro
                                          Leslie M. Pineyro
                                          Georgia Bar No. 969800
                                          lpineyro@joneswalden.com
                                          21 Eighth Street, NE
                                          Atlanta, Georgia 30309
                                          (404) 564-9300 Telephone
                                          (404) 564-9301 Facsimile
                                          Attorney for Debtor




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